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                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4           Pacific Steel Group                ,           Case No. 4:20-cv-07683-HSG

                                   5                      Plaintiff(s),
                                                                                              APPLICATION FOR ADMISSION
                                   6           v.                                             OF ATTORNEY PRO HAC VICE;
                                                                                              ORDER
                                   7           Comercial Metals Company et al     ,           (CIVIL LOCAL RULE 11-3)
                                                          Defendant(s).
                                   8
                                   9

                                  10           I, David O. Fisher               , an active member in good standing of the bar of

                                  11   Texas                                    , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Pacific Steel Group                  in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Christopher Wheeler                 , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     224872
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                        Cohen Milstein Sellers & Toll PLLC                     Farella Braun + Martel LLP
                                  16    88 Pine St, 14th floor                                 235 Montgomery St, 17th floor
                                        New York, NY 10005                                     San Francisco, CA 94104
                                  17    MY ADDRESS OF RECORD                                   LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (212) 838-7797                                         (415) 954-4400
                                        MY TELEPHONE # OF RECORD                               LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       dfisher@cohenmilstein.com                              cwheeler@fbm.com
                                  20    MY EMAIL ADDRESS OF RECORD                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 24097688               .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   0
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 05/19/2022                                           /s/ David O. Fisher
                                                                                                      APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of David O. Fisher                         is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            6/24/2022

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                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
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                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

May 18, 2022



Re: David Owen Fisher, State Bar Number 24097688


To Whom It May Concern:

This is to certify that David Owen Fisher was licensed to practice law in Texas on November 06,
2015, and is an active member in good standing with the State Bar of Texas. "Good standing" means
that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
